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EXHIBIT 3

Utah State Court Complaint

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Steven G. Loostle (4874)

Platte S. Nielson (133 12)

KRUSE LANDA MAYCOCK & RICKS, LLC
136 East South Temple, Suite 2100
P.O. Box 45561

Salt Lake City, Utah 84145-0561
Telephone: (801) 531-7090
sloosle@kImrlaw.com
pnielson@kimrlaw.com

Attorneys for Plaintiffs

IN THE THIRD JUDICIAL DISTRICT IN AND FOR
SALT LAKE COUNTY, STATE OF UTAH

MERGENCE CORPORATION, dba SPRING

ey > awe }
RETAIL GROUP, a Delaware corporation, COMPLAINT

Plaintiff,
VS.

Q ADVISORS LLC, a Colorado limited

liability company, Civil No.

Judge

Defendant.

Plaintiffs hereby complain and allege as follows:
PARTIES AND JURISDICTION

1, Plaintiff Mergence Corporation, dba Spring Retail Group (“Mergence”), is a
Delaware corporation with its principal place of business and primary operations in Salt Lake
City, Utah.

2. Defendant Q Advisors LLC (“Q Advisors”) is a Colorado limited liability
company,

3, This Court has jurisdiction over this matter pursuant to UTAH CODE ANN. §§ 78A-

5-102 and 78B-6-401.

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4, Venue is proper in this Court pursuant to UTAH CODE ANN, § 78B-3-304.

5, This Court has jurisdiction over Q Advisors because it conducted business with
Mergence in Utah in connection with providing investment advisory services to Mergence in
Utah, Q Advisors has visited Utah on multiple occasions in providing services to Mergence,
Q Advisors has also conducted business with Mergence in Utah by means of telephone and
email, Q Advisors has also entered into multiple written agreements with Mergence with respect
to providing investment advisory services, and each contract provides for the application of Utah
law.

FACTUAL BACKGROUND

6. Mergence is a holding company for technology businesses.

7. In March 2012, Mergence entered into an agreement with Q Advisors whereby
Q Advisors agreed to provide investment advisory services with respect to the possible sale of
Simply Mac, Inc., a subsidiary of Mergence, Simply Mac was a Utah corporation.

8. In October 2012, Mergence sold 49% of Simply Mac to GameStop. In or about
October 2013, Mergence sold the remaining 51% of Simply Mac to GameStop. Q Advisors was
paid fees in connection with this transaction. The closing for the transactions occurred in Utah.

9, Mergence entered into a January 18, 2013 agreement with Q Advisors whereby
Q Advisors would provide investment advisory services related to raising capital. Fees were
paid to Q Advisors when a loan was obtained. Closing for the loan occurred in Utah.

10, In connection with the transactions described above, Q Advisor was paid nearly

$1.4 million,

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11, Paragraph 15 of the January 18, 2013 agreement between Mergence and
Q Advisors provides as follows:

15, In the event that Mergence elects to pursue a sale or recapitalization
of the Company, whether while this letter is in effect or within thirty-
six (36) months of its termination, Q Advisors and Mergence shall
negotiate in good faith a new engagement letter under which
Q Advisors would be the Company’s exclusive financial advisor for
that assignment/transaction. The intent of both parties would be to
agree to terms of an engagement that are commercially reasonable
and that, when taken as a whole, are not materially inconsistent with
those available at the time from investment banks or other
organizations with experience and qualifications substantially similar
to those of Q Advisors.

(See January 18, 2013 engagement letter, attached as Exhibit A.)

12, Since January 2013, Mergence has not been sold or recapitalized,

13. In or about October 2013, Mergence sold 100% of Spring Communications
Holdings, Inc., dba Spring Mobile (“Spring Mobile”) to GameStop. The closing for this
transaction occurred in Utah.

14, In connection with the sale of Spring Mobile to GameStop, neither Mergence nor
Spring Mobile retained the services of any investment advisors and had no need for any such
services.

15. Q Advisors provided no services to Mergence or Spring Mobile in connection
with the sale of Spring Mobile to GameStop.

16. Q Advisors contends based upon paragraph 15 of the January 18, 2013 agreement

that Mergence was required to retain its services and Mergence owes Q Advisors fees in excess

of $1 million related to the sale of Spring Mobile. Q Advisors appears to take the position that

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Mergence breached a duty to negotiate a new contract and breached the implied covenant of
good faith and fair dealing in failing to do so.

17. Utah law does not recognize a duty to negotiate an agreement,

18. Q Advisors has threatened that it intends to sue Mergence to recover fees related
to the sale of Spring Mobile.

19. | Mergence disputes Q Advisors’ position that additional fees are owed related to
the sale of Spring Mobile.

CAUSE OF ACTION

20. Mergence hereby incorporates by reference the foregoing paragraphs of the
Complaint.

21. A dispute exists between Mergence and Q Advisors concerning the interpretation
of the January 18, 2013 contract and concerning whether any fees are owing to Q Advisors under
the contract based upon the sale of Spring Mobile.

22, Pursuant to UTAH R. Cry. P. 57 and UTAH CODE ANN. § 78B-6-401 et Seg.
Mergence is entitled to declaratory judgment providing that no additional amounts are owed to
Q Advisors under the January 18, 2013 contract.

WHEREFORE, Mergence requests judgment as set forth above, together with costs,
attorneys’ fees, and such other and further relief as the Court deems proper in the circumstances.

DATED this 18" day of March, 2015.

Kruse LANDA MAYCOCK & RICKS, LLC

/s/Steven G, Loosle
Steven G. Loosle
Platte S. Nielson
Attorneys for Plaintiffs

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EXHIBIT A
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Q Advisors

An Investment Banking Partnership
ENGAGEMENT LETTIR
January 18, 2013

Mr, Jason Ellis

Chief Executive Officer

Mergence Corporation (dba Spring Retail Group)
3939 South Wasatch Boulevard

Sulte |

Salt Lake City, UT 84124

Dear Jason:
Pursuant to our recent diseassions, Tam pleased to confirm the arrangements under which Mergence

Corporation (dba Spring Retall Group). (“Mergence” or the “Company”) will engage Q Advisors LLC
Q—Advisors”)-to-provide~finanelal-adylsory-services~on-an~exeluelve~basis-the-“Seryiees”)-to-the------___-

Company in connection with a private placement to qualified Institutional buyers of (a) senior debt
seourities (including revolving or term bank debt, hereinafter referred to as “Senior Debt”); or (b) debt
socufities that combine Senor Debt and Junior Debt into an integrated Instrument (Including unitranche
debt, hereinafter referred to as “Blended Debt"), Together or independently, the private placement of

-. Senior Debt.ot Blended. Debtis-hereinafler-referred to.as.the “Einaneing®,_... ies antunere ee

L, Retention, During the term of our engagement, Q Advisors will provide the Company with a range
of Services in connection with the Financing, Including advice and assistance with respect to deflaing
funding objectives and approaching potential investors, More specifiouliy, In connection with the
proposed Financing, Q Advisors will (a) asslst the Company in developing and preparing its business
plan and strategy, (6) Identlfy and contact, on a best-efforts basis, potential finanolng sources, (0)
work with the Company to prepare marketing materlals deseribing the Company and the Financing,
(d) vecommend transaction structures and prepare or comment on term sheets, (6) assist In setting
negotlatlon strategies and in conducting negotlatlons as reasonably requested by the Company, (f)
review transaction documents, and (g) attend meetings of the Board of Directors ot stockholders of
the Company when requested,

The Company shall have final determination over any information und strategies developed by Q
Advisors, In providing the Services, Q Advisors acknowledges that all terms and conditions of any
Binanolng shall be subject to the approval of the Company's management or the Board of Directors of
the Company, Inohudingy | but not Tilted to, the type of security and the institutional Investors that

participate.

During the term of this lotter agreement, the Company shall promptly refer any potentla | investors
whio approach the Company concerning a Financing to Q Advisors, and Q Advisoy's will then become en
the primary polnt of contact with any such Investors,

4809 Wynkoop St, Ste, 200  Danver, CO 80202 + 308,988,.9880 « Fax: 303.896.9861 | www.gilo.com

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Mr, Yason Bilis . . Confidential
‘Tanuary 18, 2013 ‘

2, Fees and Wxpenses, As wo disoussed, In consideration of the Seryloes vendered to the Company
under this letter agreement, the Company shall pay Q Advisors a monthly fee (the “Retainer”) of
$10,000, billed in advance (partial months will be pro rated accordingly) and payable within [0 days
of receipt of Involos,

On consummation of the Financing, the Company shail pay Q Advisors a fee (the “Financing Feo”)
equal to (a) two percent (2.0%) of the Value of the Senior Debt plus (b) two and three-quarters
percent (2.75%) of the Value of the Blended Debt, For puiposes of this letter agreement, Value shall
meat the face amount of debt (without deducting fees or expenses) raised by the Company from third
parties in connection with the Financing, Furthermore, Value shall Include any amounts committed fo
by the investor(s) but unused or undrawn at closing, However, If Prudentlal Capital (or an affiliate
thereof) is the largest investor in the Senior Debt ov Blended Debt, the Financing Fee will be reduced
by ten percent (10,0%),

If the Financing closes, Q Advisors shall recsive a Financing Kee of not less than $475,000 (the
‘Minimum Fee”), exoepl, however, if Prudential Capltal (or affillates thereof) is the largest Investor
in the Financing, in which oaso the Minimum Fee will be $425,000, Al Retainer payments shall be
credited against and reduce the Financing Fee,

in addition, whether or not the Financing closes, the Company will reimburse Q Advisors, on a
monthly bagls, for reasonable and documented out-of-pocket expenses incurred by Q Advisors tn
connection with this letter agreemont, Typleally, these expenses may include travel, lodging,
telophone and outside services Incurred by Q Advisors, In no event shall Q Adylsors incur any single
expertse-tn-excess of $2; 000-withouttie-prlar-consent-of-the-Company;—Q-Adylsors-anticipates-that-
monthly reimburgable-expenges will not be greater than $4,000, and It will make a good-falth effort to
promptly alert Morgence, If {t expects expenses to exceed that level,

3, Termination, Services hereunder may be terminated with or without cause by olther party at any
time.on 30.days!. written notice and. without, liabillty.or.continuing obligation.to.the.other (except, for .
any compensation earned and expetises incuiwed by Q Advisors to the date of termination, including
without limitation Financing Feos and except, In the case of termination by the Company for any
reason other then the material breach of this agreement by Q Advisors, for Q Advisors? right under
the “tail? provisions desortbed immediately hevenfter in this Section 3), After termization of Q
Advisors’ engagement for any reason other than the material breach by Q Advisors, Q Advisors will
provide the Company with a true and correct list of parties with whom Q Advisors, on Mergence’s
behalf, has been In contact regarding the Financing (“Tail List”), If within twelve (12) months
following the termination of Q Advisors’ engagement, the Company (a) closes 4 Financing or (6) ()
enters Into a Lotter of Intent, Memorandum of Understanding, or substantially similar agroemont
(even if such agreement is noti-binding) desorlbing key terms and conditions of a Financing and (b)
(ii) closes a Financing with that same entity, ot an affillate thereof (whether or not that closing ocours
within the twelve (12) months referenced above) and the Financing 1s with any party who is on the
Tall List, Q Advisors shall be entitled, as applicable, to the Financing Fee ay get forth above,
Notwithstanding eny termination of this letter agreement, the numbered paragraphs 2, 3, 5, 6 and 18
herein will remain operative regardless of any such termination,

4, Independent Contractoy, Q Advisors will act under this letter agreement as an independent
contractor with duties solely to the Company, and nothing horein shall be construed as creating any
olher relytionship between the Company and Q Advisors hereto including, but not limited to,
partnership, agenoy or joint venture, The relatlonship between Q Advisors and the Company under
this letter agreement shall be solely that of consultant and client, The Company, Its agents,
employees, representatives or affillates shall under no olrcumstance be med agents of

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Mr. Jason Ells Confidential
‘January 18, 2013

representatives of Q Advisors, Neither Q Advisors nor its agents, employees, representatives or
affillates, shall be deemed for any purpose to be employees of the Company, Furthermore, it is
understood that Q Advisors ts belng engaged hereunder solely to provide the Services desorbed
above to the Company and that Q Advisors is not acting as an agent or fiduciary of, and shall have no
duties or lability to, the divectors or equity holders of the Company or any other third party in
connection with Its engagement hereunder, all of whloh ave expressly waived. Any purchases of
securities from, or other transactions involving, the Company shall be effected by the Company. Q
Advisors and its employees, agents and representatives shall have no authority to bind the Company.
Q Advisors understand that the Company may modify, suspend, terminate or withdraw entirely any
Financing transaction or efforts to pursue such a transaction at any time,

5, General Indemnity, The Company agreos to indemnify Q Advisors and its members, directors,
officers, agents and employees (each, an “Indemnified Party”) of and from any losses, actions, claling,
damages os Habilites (or actions in respect thereof) resulting from any claim ralsed by a third party
relating to or arising out of the performance of the Services noted hereunder, other than the gross
negligence or wilfy] misconduct by an Indemnified Party, and will relmburse the Indemnified Party
hereunder for all expenses (Inchiding reasonable attorneys’ fees and expenses) reasonably Incurred by
the Indemuified Party in connection with investigating, preparing or defending any such action or
claim, The Company agrees that neither Q Advisors nor any Indemnified Party shall have any
Hability to the Company for or in connection with this engagement except for any such Ilablfity for
losses, actions, claims, damages, liabilitles or expenses incurred by the Company that result from Q
Advisors’ gross negligence or wilful misconduct, In the event that an indemnifiable claim arises
hereunder, the Indemnified Party shall give prompt wrltten notice of the claim to the Company and
the Company shall have the right to assume the defense of such claim provided that there is no

————---—— confllet-of-interest-between-the-Company;-on-tho-one-hand,-and-the-Indemnified-Party-on-the-ather meer ne
hand, The Company will not settle any action by a third party against any Indemnifled Party relating
to this engagement without seourlng appropriate releases or other protection for such Indemnified
Party, No Indemnified Party will settle any action without the consent of the Company, whloh
consent shall not be unreasonably withheld,

Tf the indemnificatlon provided for in the preceding paragraph shall for any reason be unavailable to
ai otherwise Indemnified Party, then the Company shall, in flew of Indemnifying such Indemnified
Party, contribute to the amount pald or payable by such Indemnified Party (a) in such proportion as
shall be appropriate to reflect the relatlve benefits tecelved by the Company on the one hand and Q
Advisors on the other from the engagement of the Financing or (b) if the allocation provided by
olauge (a) is not permitted by applicable law, in such proportion as is appropriate to reflect not only
the relative benefits referred to in clause (a) but also the relative fault of the Company on the one
hand and Q Advisors on the other with respect to the conduct or omission which resulted In a loss,
action, claim, damage or lability, or actlon In respoot thereof, as well as any other yelevant equitable
considerations, The relative benofits received by the Company on the one hand and Q Advisors on
the other with respoct fo the Financing shall be deemed to be In the same proportion as the aggregate
consideration or value received by the Company In the Financing (as tho same may be reduced by
damages incurred as a result thereof) bears to the Financing Fee recelved by Q Advisors under this
letter agreement. Under no clroumstances shall Q Advisars or any Indemnified Patty be Hable for any
indirect, consequential, Incidental, special, punitive or exemplary damages arising from any losses,
actions, claims, damages or Habilities (or aotlons in respect thereof) seaulting from any olalm raised
by a third party velating to or arising out of the performance of the Services, regardless of whether
Advisors has been epprised of the Likellhood of such damages occurring,

In the event the Company requests that Q Advisors dellver certain documents and information
relating to this engagetnent Vie electronic transmissions, the Company acknowledges and agrees that

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Mi, Jason Ellis Confidential
‘January 18, 2013

the privecy and integrity of electronto transmissions oannot be guaranteed due to the possibllity that
third parties could intercept, view ot alter such electronic transmisstons, ‘To the extent that any
documents or information relating to this engagemient avo transmitted electronically, the Company
agteos to release Q Advisors from any loss or lability incurred in connection with the electron{e
transmission of any such documents and information, tocluding the unauthorized interception,
alteration or fladulent generation and transmission of clectronio transmissions by third parties,
Undor no clreumstances shall Q Advisors be lable for any ordinary, direct, indirect, consequenttal,
ineldental, special, punitive or oxomplary damages arlsing out of the foregoing, regardless of whether
Q Advisors has been apprised of the likelihood of such damages occurring,

& Rellance on Information: Confidentiality, The Company understands and confirms (a) thet Q
Advisors will bo using and relylng on data, material and information about the Company furnished to
Q Advisors by the Company, its employees and representatives and (b) that Q Advisors does not
assume responslbility for Independently verifying such information. The Company hereby ropresents
and warrants to Q Advisors that the information furnished by the Company for the purposes
contemplated by this letter agreement will not contain any untrue statement of a material fact or omit
to stato any material fact necessary to make statements therein not misleading.

Any advice or opinions provided by Q Advisors may not be disclosed or referred to publicly or to any
third parly except in accordance with Q Advisors? prior written consent, which shall not be
unreasonably withheld or donled, or as required by law or regulation. Q Advisors acknowledges that
all information about the Company, its business, operations and customers that Q Advisors and its
representatives learn in amy way and from any source ag a result of this letter agreement constitutes 4
trade seoret, or Is confidential ar proprietary to the Company (the “Confidential Information”), ©

*TACVISGTS BHAI KessiVe Tid HSld GG COMAUSHAAL WTOMMTALOI IF COR fidoiiog, Shall Hold the sais 1h
trust, shall not disclose or furnish the same to any third party without the Company’s prior written
consent, and shall not use the same for any purpose other than the performance of its obligations
under this letter agreement or otherwise In direct connection with the operation of this letter
agreement, Notwithstanding the foregoing, Confidential Information shall not encompass
information about the Company that {s or becomes publicly available through no fault of Q Advisors’,
ls already lawfully in Q Advisors’ possession, Is independently developed by Q Advisors, on is
legitimately and lawfully obtalued by Q Advisors from third pastes not under obligations of
confidentiality to the Company, .

Upon termination of this letter agesoment, Q Advisors shall return or, at the discretion of the
Company, destroy ail the Company's Confidentlal Information in Its oafe, oustody or control that ts
capable of being retrieved for such purpose(s) without undue burden to Q Advisors, with the
exception of any materials required to be kept for FINRA or other regulatory purposes,

Q Advisors acknowledges that the Confidential Information under this letter agreernent constitutes
unique, valuable and speolal trade seoret and business information of the Compeny, and that
disclosure may cause irreparable injury to the Company, Accordingly, Q Advisors agrees that the
remedy at law for any breach of the covenants contained In this paragraph 6 may be inadequate, and
in recognition, agrees that the Company shall, In additlon, be ontitled to seek injunctive rellef without
bond inoluding reasonable attorneys! fees and other court costs and expenses, In the event of a breach a,
or threatened breach of the provisions of this paragraph 6, which rellef shall be in addition to and not
In derogation of any other remedies which muy be available to the Company ae a result of suck
breach, ,

7, Notices. Notice given pursuant to any of the provisions of this letter agreement shall be in writing
atid shall sent by overnight delivery by an Internationally recognized delivesy,company or hand-

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Mi. Jason Elis Confidential
‘January 18, 2013

delivered (a) to the Company at the address set forth above, to the attention of Mr. Jason Ellis, and (b)
to Q Advisors at 1899 Wynkoop Street, Ste, 200, Denver, Colorado 80202, Attention: Mr, Michael
Crawford, Parties may change the foregoing addresses with a prior weltten notice to the other party,

8, Construction, This letter agreement shull be governed by and construed in accordance with the laws
of the State of Utah as applied to contracts made and performed In such State, exclusive of Utah's
cholee of law provisions,

9, Severability. Any determination that any provisloy of this letter agreement may be, or is,
unonforceablo shall not affeot the enforoeubillty of the remainder of this letter agreement,

10. Headings. ‘The paragraph headings In this letter agreement have been Inserted as a matter of
convenience of reference and are not part of this letter agreement,

11, Counterparts. This letter agreement may be executed ln two or more counterparts, each of which
shall be deemed an original, but all of which taken together shall constitute one and the same
instrument, This letter agreement may be executed by facsimile,

12, Lhivd Party Boneficlavies, This letter agreament has been and is made solely for the benefit of the
Company and Q Advisors and thelr respective suocessors and permitted assigns, and no other person
shall aoquire or have any right under or by virtue of this letter agreement,

13, Modification, This letter agreement may not be modified, amended or assigned except In writing,
duly exeouted by the parties hereto,

[4, Announcements, It is understood that fa Financing ls completed, Q Advisors wltl be entitled, at its
expense, to place an announcement In such publications and mallings as Q Advisors desites, stating
that Q Advisors has acted as finanolal advisor to the Company in connection with the Financing, Any
such announcements shall be subject to the Company's approval, which shall not be unreasonably
withheld or delayed.

Future Sale or Recanitallzation, In the event that Moergence clects to pursue a sale or
recapitalization of the Company, whether while this letter is in effect o1 within thirty six (86) months
of fts termination, Q Advisors and Mergence shall negotiate in good faith a new engagement letter
vader which Q Advisors would be the Company’s exclusive finanolal advisor for that
assignment/transaotion, The intent of both parties would be to agree to terms of an engagement that
are cominerolally reasonable and that, when taken as a whole, are not materially inconsistent with
those available at the time from investment banks or other organizations with experlence and

quallfications substantially similar to those of Q Advisors,

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. Min Jason Elis , , Confidential
January Leh 2013
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If the terms of ou engagement as set forth tn this letter are satisfactory, kindly sign the enclosed copy of
this letter agreement and return {f fo us, We look forward to working with the Company on ihis
assignment,

Very truly yours,

Q ADVISORS LLC, a Colorado ilmited Iability company

By: Q Consulting & Advisors Inc.,, Manager
ISRO
oy VY
é = °

Michael Crawford, Vice President

heh

nits _ff fresidenk

Date hoe lps me von ~

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